USDA
iiiiiii                                                                                   April 9, 2012
United States
Department of
Agriculture
                                    Timothy R. Fordahl
Animal and Plant                    Western Regional Director
Health Inspection                   Investigative & Enforcement Services
Service

Animal Care                        Request for Investigation of Alleged Violations
Western Region
                                   Regarding the Animal Welfare Act, Regulations,
2150 Centre Ave.                   and/or Standards
Building 8
Mail Stop# 3W11
Ft. Collins. CO 80526
Phone: 970/494-7478
Fax: 970/494-7461        Please initiate an investigation on the following individuals:

                         NAME:                          Pamela Sellner I Tom Sellner
                         ADDRESS:                       1512 21 olh Street
                         CITY:                          Manchester, lA 52057
                         LIC I CUST #:                  42-C-0084/5143

                         ADDITIONAL INFORMATION:

                         Facility has been in chronic non-compliance since July 2010. They were
                         issued a Warning Ticket on May 26, 2011 for veterinary care and facilities.
                         Since that time they have had three routine inspections which record
                         numerous citations. The inspection conducted on December 8, 2011 cited a
                         Direct for not having water available.

                         Please include in the investigation open complaints W11-143, W11-153, and
                         W11-171.

                         History: Warning Ticket issued May 26, 2011
                                  Stipulation paid April 19, 2007
                                  Warning Ticket issued December 15, 2004

                         If further information is needed, please let me know.



                        ~~-LAXf~j_~
                         Robert M. Gibbens
                         Director, Western Region
                         USDA, APHIS, Animal Care


                         cc: Jami Niemann, SACS
                             Cynthia Neis, ACI


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